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    Defendants MOSAFER INC.; MOSAFER
  9 E-COM, INC.; GOMOSAFER; ABU
    ISSA HOLDINGS; ASHRAF ABU ISSA;
 10 and NABIL ABU ISSA
 11                       UNITED STATES DISTRICT COURT
 12          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 13
 14 MOSAFER INC.; MOSAFER E-COM,                 Case No. 2:21-cv-06320-MCS-JC
    INC.; AND GOMOSAFER,
 15                                              [Assigned to Hon. Mark C. Scarsi]
                Plaintiffs,
 16                                              MOSAFER PARTIES’ NOTICE OF
          v.                                     MOTION AND MOTION TO
 17                                              STRIKE OR ALTERNATIVELY, TO
    ELLIOTT BROIDY; GEORGE NADER;                DISMISS THE BROIDY
 18 BROIDY CAPITAL MANAGEMENT,                   DEFENDANTS’ CALIFORNIA
    LLC; CIRCINUS, LLC; THE IRON                 STATE LAW COUNTERCLAIMS
 19 GROUP INC. D/B/A IRONISTIC.COM;              AND TO DISMISS REMAINING
    SCL SOCIAL LIMITED; PROJECT                  CLAIMS
 20 ASSOCIATES UK LTD; MATTHEW
    ATKINSON; AND JOHN DOES 1-100,
 21
               Defendants.                       Date: December 6, 2021
 22                                              Time: 9:00 a.m.
                                                 Place: Courtroom 7C
 23
                                                 [Filed concurrently with Memorandum
 24                                              of Points and Authorities]
 25 AND RELATED COUNTERCLAIMS
 26
 27
 28

         MOSAFER PARTIES’ NOTICE OF MOTION AND MOTION TO STRIKE OR ALTERNATIVELY, TO
       DISMISS THE CALIFORNIA STATE LAW COUNTERCLAIMS AND TO DISMISS REMAINING CLAIMS
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  1 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
  2        PLEASE TAKE NOTICE THAT on December 6, 2021 at 9:00 a.m., or as
  3 soon thereafter as counsel may be heard, in Courtroom 7C of the above-entitled
  4 Court, located at 350 W. 1st Street, Los Angeles, California 90012, Counter-
  5 Defendants Mosafer Inc., Mosafer E-Com, Inc., GoMosafer, Abu Issa Holdings,
  6 Ashraf Abu Issa, and Nabil Abu Issa (collectively, the “Mosafer Parties”) will and
  7 hereby do, move this Court for an order striking Counterclaimants Elliott Broidy
  8 (“Broidy”), Broidy Capital Management, LLC (“BCM”), and Circinus, LLC’s
  9 (“Circinus”) (collectively, the Broidy Defendants) counterclaim for Abuse of
 10 Process pursuant to California Code of Civil Procedure section 425.16 on the
 11 grounds that the counterclaim arises from protected activity and plaintiff cannot
 12 demonstrate a probability of prevailing on the counterclaim. Alternatively, the
 13 Mosafer Parties move to dismiss the counterclaim for Abuse of Process pursuant to
 14 Rule 12(b)(6) of the Federal Rules of Civil Procedure on the grounds that the
 15 counterclaim fails to state a claim upon which relief may be granted.
 16        Additionally, the Mosafer Parties move to dismiss the Counterclaimants’
 17 remaining counterclaims for Business Conspiracy under Va. Code § 18.2-499 and
 18 500, and for violation of the RICO Act (18 U.S.C. § 1962(c)(2) and 18 U.S.C. §
 19 1964(c)) pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure on the
 20 grounds that these counterclaims fail to state a claim upon which relief may be
 21 granted.
 22        This Motion is based on this Notice of Motion and Motion, the accompanying
 23 Memorandum of Points and Authorities, as well as the papers, pleadings and other
 24 documents on file in this action, judicially noticeable materials, and such other and
 25 further oral or documentary evidence as may be presented at or before the hearing.
 26        This Notice is given following the conference of counsel pursuant to L.R. 7-3
 27 which took place on November 5, 2021.
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         MOSAFER PARTIES’ NOTICE OF MOTION AND MOTION TO STRIKE OR ALTERNATIVELY, TO
       DISMISS THE CALIFORNIA STATE LAW COUNTERCLAIMS AND TO DISMISS REMAINING CLAIMS
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  1 DATED: November 8, 2021                  LARSON LLP
  2                                          By: /s/ Stephen G. Larson
  3                                             Stephen G. Larson
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  4                                             Paul A. Rigali
                                                Jonathan D. Gershon
  5                                             Attorneys for Plaintiffs and
                                                Counterclaim Defendants MOSAFER
  6                                             INC.; MOSAFER E-COM, INC.;
                                                GOMOSAFER; ABU ISSA
  7                                             HOLDINGS; ASHRAF ABU ISSA;
                                                and NABIL ABU ISSA
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         MOSAFER PARTIES’ NOTICE OF MOTION AND MOTION TO STRIKE OR ALTERNATIVELY, TO
       DISMISS THE CALIFORNIA STATE LAW COUNTERCLAIMS AND TO DISMISS REMAINING CLAIMS
